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IN THE UNITED STATES DISTRICT COURT F"-€D BY .., D.c.
FOR THE wESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 JUL 2| PH 3: 57
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UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 04#20140-1\4]_

ANTHONY B. MACK

Defendant(s)

-._/~_/~_¢~__»~_/~._»~_,~_r~_,»~_/V»._/

 

ORDER ON CCNTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set Report on Friday, July 22, 2005 at 9:00 a.m.
Counsel for the defendant requested a continuance of the present setting.
The continuance is necessary to allow for additional preparation in the
case.

The Court granted the request and continued the matter for Report
to Friday, October 28, 2005 at 9:00 a.m. with a trial date of Monday,
November 7, 2005 at 9:30 a.m.

The period. fron1 August 12, 2005 through_ November lB, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B}(iv) to allow defense counsel
additional time to prepare.

IT IS SO ORDERED this the §§ l day of July, 2005.

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JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

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UNITED `sATES DISTRICT COURT - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 202 in
case 2:04-CR-20140 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

